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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       )
BRISTOL-MYERS SQUIBB COMPANY and                       )
PFIZER INC.,                                           )
                                                       )
          Plaintiffs,                                  )
                                                       )
v.                                                     ) C.A. No. 17-374-LPS (CONSOLIDATED)
                                                       )
AUROBINDO PHARMA USA INC. et al.,                      )
                                                       )
          Defendants.                                  )
                                                       )
                                                       )

                                      STIPULATION AND ORDER

           The parties in the above-identified action hereby agree, subject to the approval of the

 Court, that the following deadlines shall control the remainder of this action:

                                     Event                                          Deadline

     Parties exchange lists of admitted facts, contested issues of fact,       September 4, 2019
     contested issues of law, and intended proofs for issues for which
     they bear the burden of proof; parties exchange their trial exhibit
     lists and provide copies of their proposed exhibits; parties
     exchange initial witness lists; Plaintiffs provide pretrial order shell
     with placeholders according to the sections set forth in the Court’s
     Revised Final Pretrial Order – Patent form and required by this
     Court’s Scheduling Order (D.I. 19).

     Parties exchange lists (identified by page and line) of testimony         September 6, 2019
     they intend to offer by deposition (“deposition designations”);
     Plaintiffs provide Defendants with a draft of the sections of the
     joint proposed pretrial order set forth in the Court’s Revised Final
     Pretrial Order – Patent form that the parties are not separately
     exchanging (nature of the case, jurisdiction)




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                               Event                                       Deadline

Parties exchange rebuttal lists of statement of admitted facts,        September 13, 2019
contested issues of fact, contested issues of law, and intended
proofs; parties exchange rebuttal exhibit lists, and provide copies
of proposed rebuttal exhibits; parties provide objections to opening
exhibit list; parties exchange objections to deposition designations
and provide counter-designations; Defendants provide Plaintiff
with any proposed edits to the draft joint proposed pretrial order.

Parties exchange objections to rebuttal exhibits and                   September 18, 2019
objections to counter- designations; parties exchange
counter-counter deposition designations; parties exchange
proposed motion in limine topics and, thereafter, meet and
confer to determine which requests are agreed upon and
which requests are contested.

Parties exchange opening motions in limine, which are to be            September 20, 2019
included (together with oppositions and replies) in the final joint
proposed pretrial order; parties exchange objections to counter-
counter deposition designations.

Consistent with this Court’s Scheduling Order (D.I. 19 at ¶ 20),
each side shall be limited to three (3) requests, and each in limine
request may be supported by a maximum of three (3) pages of
argument per request.

Parties exchange oppositions to motions in limine, which                October 2, 2019
are to be included in the final joint proposed pretrial order;
parties exchange lists of miscellaneous issues and any
unresolved objections to designated testimony and
thereafter meet-and-confer concerning miscellaneous
issues and unresolved objections to designated testimony.

Consistent with this Court’s Scheduling Order (D.I. 19 at ¶
20), each in limine request may be opposed by a maximum
of three (3) pages of argument.

Parties meet and confer on trial logistics to include in pretrial       October 7, 2019
order, including, as required by this Court’s Scheduling Order
(D.I. 19 at ¶ 20) and the Court’s Revised Final Pretrial Order –
Patent form, the number of hours for trial presentations, process
for impeachment, process for objections to scope of expert
testimony, process for motions for judgment as a matter of law,
and post-trial briefing; deadline for parties to meet and confer
regarding designations or other miscellaneous issues concerning
the pretrial order.

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                                Event                                            Deadline

Parties exchange replies in support of motions in limine, which               October 9, 2019
are to be included in the final joint proposed pretrial order.
Consistent with this Court’s Scheduling Order (D.I. 19 at ¶ 20),
each in limine request may be supported by a maximum of one
(1) page of argument in reply.

Parties file joint proposed pretrial order (including exhibit lists           October 11, 2019
and objections, deposition designations and objections, and
motion in limine briefing).

Pretrial conference in BMS v. Defendants, 4:00 p.m.                           October 22, 2019

Trial in BMS v. Defendants, 9:00 a.m. (at least 5 court                       October 31, 2019
days)




Dated: August 2, 2019                               Respectfully submitted,

FARNAN, LLP                                          CONNOLLY GALLAGHER LLP

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IT IS SO ORDERED on this    day of                   , 2019.




                                         The Honorable Leonard P. Stark




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